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                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

  IN RE:                                         §
  TEXASWATERSERVICES, LLC                        §
                                                 §
         DEBTOR                                  §                   CASE NO. 24-10020

                              DEBTOR’S MOTION TO DISMISS


  THIS PLEADING REQUESTS RELIEF THAT MAY BE ADVERSE TO YOUR
  INTERESTS. IF NO TIMELY RESPONSE IS FILED WITHIN 21 DAYS FROM THE
  DATE OF SERVICE, THE RELIEF REQUESTED HEREIN MAY BE GRANTED
  WITHOUT A HEARING BEING HELD.

  A TIMELY FILED RESPONSE IS NECESSARY FOR A HEARING TO BE HELD.

  TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

         COMES NOW, TexasWaterServices, LLC (“Debtor”) and files this Motion to Dismiss

  pursuant to 11 U.S.C. § 1112(b). The Debtor presents this motion and respectfully represents the

  following:

                                         JURISDICTION

         1.     This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This is a

  core proceeding pursuant to 28 U.S.C. § 157(b)(2).

         2.     Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

         3.     The basis for the relief requested herein is 11 U.S.C. § 1112(b) and Rule 1017 of

  the Bankruptcy Local Rules for the Western District of Texas.

                               PROCEDURAL BACKGROUND

         4.     On January 8, 2024, the Debtor filed a voluntary petition for relief under Chapter

  11, Subchapter V of Title 11 of the United States Code, 11 U.S.C. §§ 101-1532.

         5.     This case has not been previously converted from another Chapter of Title 11.



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          6.      The Debtor is currently a debtor-in-possession.

                                      FACTUAL BACKGROUND

          7.      Debtor operates a plumbing business in the Austin area.

          8.      Unfortunately, Debtor is not generating sufficient revenues to propose a feasible,

  good faith, plan of reorganization. Debtor has no realistic hope that revenues will increase and has

  therefore determined that it is in the best interest of all parties to dismiss this case.

          9.      Debtor believes that cause exists to dismiss this case. Dismissal at this early stage

  of the case avoids incurring unnecessary expenses. Vehicles comprise the bulk of the secured assets,

  and dismissal of this case will allow creditors to quickly execute their rights as to the collateral.

          10.     Debtor’s counsel has conferred with both the Subchapter V Trustee and the U.S.

  Trustee, and dismissal is agreed.

          11.     Debtor requests dismissal with prejudice for 180 days.

                                               ARGUMENT

   Dismissal is appropriate under 11 U.S.C. § 1112(b)

          12.     Dismissal is in the best interests of both the creditors and the estate and is

   appropriate under § 1112(b), which provides that “the Court shall convert a case under this

   chapter to a case under chapter 7 or dismiss a case under this chapter, whichever is in the best

   interests of creditors and the estate, for cause . . .” (emphasis added).

          13.     “Cause” under this statute to dismiss exists because Debtor will be unable to

   confirm a reorganization plan due to insufficient revenues.

          14.     Dismissal is a better option than conversion. The secured creditors with liens on

   vehicles will be able to enforce their lien rights on those vehicles once the automatic stay is




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   removed. Furthermore, there was only about $2,500 cash on hand when this case was filed less

   than three weeks ago, and that amount has not appreciably increased.

         15.     Dismissal will still allow the Chapter 11 administrative claims to get paid, which is

   in the best interest of creditors and the estate. By dismissing so early in the case, Debtor avoided

   incurring significant administrative expenses.

                                              PRAYER

         WHEREFORE, PREMISES CONSIDERED, the Debtor respectfully requests that this

  case be dismissed with prejudice to refiling for 180 days.


                                                        Respectfully submitted,

                                                        THE LANE LAW FIRM, PLLC
                                                        /s/ Robert C. Lane
                                                        Robert C. Lane
                                                        State Bar No. 24046263
                                                        notifications@lanelaw.com
                                                        Joshua D. Gordon
                                                        State Bar No. 24091592
                                                        Joshua.gordon@lanelaw.com
                                                        6200 Savoy, Suite 1150
                                                        Houston, Texas 77036
                                                        (713) 595-8200 Voice
                                                        (713) 595-8201 Facsimile
                                                        PROPOSED COUNSEL FOR DEBTOR




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                               CERTIFICATE OF CONFERENCE

           I hereby certify that I have conferred with Shane Tobin, counsel for the U.S. Trustee, and
  Eric Terry, Subchapter V Trustee regarding the filing of this motion. They are both agreed to the
  relief sought in this motion.

                                   CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the Motion to Dismiss was served upon the
  US Trustee and to the parties listed on the service list below and the attached mailing matrix either
  via electronic notice by the court’s ECF noticing system or by United States first class mail,
  postage prepaid, on January 26, 2024:

  Debtor:
  TexasWaterServices, LLC
  1700 Bryant Dr. Ste 203
  Round Rock, TX 78664

  US Trustee:
  Office of the U.S. Trustee
  903 San Jacinto Blvd
  Room 230
  Austin, Texas 78701
  Ustpregion07.au.ecf@usdoj.gov

  ECF Notices:
  Steven B. Bass on behalf of Creditor United States Internal Revenue Service
  Steven.Bass@usdoj.gov, tina.travieso@usdoj.gov

  Robert Chamless Lane on behalf of Debtor TexasWaterServices, LLC
  chip.lane@lanelaw.com, thelanelawfirm@jubileebk.net;notifications@lanelaw.com

  Julie A. Parsons on behalf of Creditor The County of Williamson, Texas
  jparsons@mvbalaw.com,
  vcovington@mvbalaw.com;kalexander@mvbalaw.com;julie.parsons@ecf.courtdrive.com

  Eric Terry
  eric@ericterrylaw.com, ebterry@ecf.axosfs.com

  Shane P. Tobin on behalf of U.S. Trustee United States Trustee - AU12
  shane.p.tobin@usdoj.gov, Carolyn.Feinstein@usdoj.gov;gary.wright3@usdoj.gov

  United States Trustee - AU12
  ustpregion07.au.ecf@usdoj.gov


                                                        /s/Robert C. Lane
                                                        Robert C. Lane


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Label Matrix for local noticing        TexasWaterServices, LLC                       United States Trustee (SMG111)
0542-1                                 1700 Bryant Dr. Ste 203                       United States Trustee
Case 24-10020-smr                      Round Rock, TX 78664-3899                     903 San Jacinto Blvd, Suite 230
Western District of Texas                                                            Austin, TX 78701-2450
Austin
Fri Jan 26 09:07:33 CST 2024
U.S. BANKRUPTCY COURT                  ACAR Leasing LTD d/b/a GM Financial Leasing   Ally
903 SAN JACINTO, SUITE 322             P.O. Box 183853                               PO Box 380901
AUSTIN, TX 78701-2450                  Arlington, TX 76096-3853                      Minneapolis, MN 55438-0901



Ally Bank                              Ally Financial                                American Express
AIS Portfolio Services, LLC            PO Box 9001951                                Bankruptcy Unit
4515 N Santa Fe Ave. Dept. APS         Louisville, KY 40290-1951                     P.O Box 297817
Oklahoma City, OK 73118-7901                                                         Fort Lauderdale, FL 33329-7817


American Express National Bank, AENB   Amsterdam Capital Solutions, LLC              Angi
c/o Zwicker and Associates, P.C.       222 W. 37th Street 8th Floor                  The MB&W Building
Attorneys/Agents for Creditor          New York, NY 10018-9030                       26000 Cannon Rd
P.O. Box 9043                                                                        Bedford, OH 44146-1807
Andover, MA 01810-0943

Atmos Energy                           BlueVine Capital Inc.                         CSA Realty Group
JNR Adjustment Company                 401 Warren St 300                             9011 Mountain Ridge Dr #200
PO Box 27070                           Redwood City, CA 94063-1536                   Austin, TX 78759-7251
Minneapolis, MN 55427-0070


Capital One N.A.                       Capital One N.A.                              Capital One Spark
by American InfoSource as agent        by American InfoSource as agent               1680 Capitol One Dr
4515 N Santa Fe Ave                    PO Box 71083                                  Mc Lean, VA 22102-3407
Oklahoma City, OK 73118-7901           Charlotte, NC 28272-1083


(p)CHANNEL PARTNERS CAPITAL LLC        Charter Communications Operating, LLC         Citgo Fleet Universal
ATTN LEGAL DEPARTMENT                  c/o Corporation Service Company               1 Hancock Street
10900 WAYZATA BOULEVARD SUITE 300      dba CSC - La                                  Portland, ME 04101-4217
MINNETONKA MN 55305-1576               211 E. 7th Street 620
                                       Austin, TX 78701-3218

Corporate Turnaround                   DFA Leasing                                   DataNet Systems Inc
95 North Route 17 Suite 310            2120 Church Ave                               5926 Balcones Drive
Paramus, NJ 07652-2626                 Troy, TX 76579-2711                           Austin, TX 78731-4290



Dwayne Justice                         E-Barnett/Home Depot                          FNBO Master Card
1622 Belvedere Place                   PO Box 404284                                 1620 Dodge Street
Round Rock, TX 78665-5658              Atlanta, GA 30384-4284                        Omaha, NE 68197-0003



GB Collects                            GM Financial                                  GM Financial
1253 Haddonfield Berlin Rd             4001 Embarcadero Drive                        PO Box 183834
Voorhees, NJ 08043-4847                Arlington, TX 76014-4106                      Azle, TX 76098
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Internal Revenue Service                             Internal Revenue Service                             Kollis Law PLLC
Gloria Hoskins                                       P.O. Box 7346                                        222 W 37th Street, 9th Floor
12309 N Mopac Expwy                                  Philadelphia, PA 19101-7346                          New York, NY 10018-9144
Austin, TX 78758-2577


Lane Equipment Co.                                   Murphy Express                                       Radius Global Solutions
PO Box 540909                                        200 E. Peach Street                                  7831 Glenroy 250
Houston, TX 77254-0909                               El Dorado, AR 71730-5836                             Edina, MN 55439-3117



STEVEN B. BASS                                       ServiceTitan, Inc.                                   Szabo Associates Inc.
Assistant United States Attorney                     c/o                                                  3355 Lenox Road NE 945
903 San Jacinto Blvd., Suite 334                     Corporation Service Company d/b/a CSC-La             Atlanta, GA 30326-1395
Austin, Texas 78701-2449                             211 E. 7th Street 620
                                                     Austin, TX 78701-3218

The County of Williamson, Texas                      The Lane Law Firm                                    Toyota Financial
c/o McCreary, Veselka, Bragg & Allen                 6200 Savoy Dr Ste 1150                               PO Box 5855
P.O. Box 1269                                        Houston, TX 77036-3369                               Carol Stream, IL 60197-5855
Round Rock, TX 78680-1269


Tranza, Inc. dba Bryant Business Center              UniFirst Corporation                                 United States Trustee - AU12
c/o CSA Management Inc.                              6000 Bolm Rd                                         United States Trustee
9011 Mountain Ridge Dr 200                           Austin, TX 78721-3631                                903 San Jacinto Blvd, Suite 230
Austin, TX 78759-7251                                                                                     Austin, TX 78701-2450


Western Equipment Finance                            Williamson County Tax Assessor                       Zwicker & Associates, PC
PO Box 640                                           904 S. Main St.                                      80 Minuteman Road
Devils Lake, ND 58301-0640                           Georgetown, TX 78626-5829                            Andover, MA 01810-1008



Eric Terry                                           Robert Chamless Lane
Eric Terry Law, PLLC                                 The Lane Law Firm PLLC
3511 Broadway                                        6200 Savoy Dr Ste 1150
San Antonio, TX 78209-6513                           Houston, TX 77036-3369




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Channel Partners Capital LLC
11100 Wayzata Blvd
Minnetonka, MN 55305-5537




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.
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(d)TexasWaterServices, LLC            End of Label Matrix
1700 Bryant Dr. Ste 203               Mailable recipients   49
Round Rock, TX 78664-3899             Bypassed recipients    1
                                      Total                 50
